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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


     CÉSAR PEDRO ZAPATER-KALIL,
                     Plaintiff,                      CIVIL NO. 21-1022 (GLS)


                          v.


  COMMISSIONER OF SOCIAL SECURITY,
                    Defendant.



                                            ORDER
       Plaintiff filed a Complaint seeking review of a final decision of the Commissioner of Social
Security (“Commissioner”) which denied his application for disability insurance benefits. Docket
No. 1. On July 19, 2021, the Commissioner answered the Complaint and filed the transcript of the
administrative record. Docket Nos. 15 and 16. On August 27, 2021, Plaintiff filed a memorandum
of law in support of his request to reverse the Commissioner’s decision. Docket No. 19.
       On October 15, 2021, the Commissioner moved the Court to enter an order reversing its
final decision and remanding the case to the Social Security Administration for further proceedings
pursuant to sentence four of 42 U.S.C. § 405(g). Docket No. 24. Pursuant to the Commissioner’s
request, a remand will provide an opportunity for a new hearing to re-evaluate the severity of
Plaintiff’s mental impairments and for a new decision to be issued. Id. Plaintiff provided written
consent to the Commissioner’s request for a remand. Id. The Commissioner’s motion is
GRANTED.
       Judgment shall be entered remanding the case to the Commissioner for further
administrative proceedings pursuant to the fourth sentence of 42 U.S.C. Section 405(g).
       IT IS SO ORDERED.
       In San Juan, Puerto Rico, this 18th day of October 2021.
                                                                           s/Giselle López-Soler
                                                                      GISELLE LÓPEZ-SOLER
                                                                   United States Magistrate Judge
